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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


JONATHAN BROWN                               CIVIL ACTION NO. 08-852


versus                                       SECTION: "I" (2)

PERFORMANCE ENERGY SERVICES, LLC,
et al.


                          ORDER OF DISMISSAL



            The Court having been advised by counsel for the parties

that all of the parties to this action have firmly agreed upon a

compromise,

            IT IS ORDERED that the action be and it is hereby

dismissed without prejudice to the right, upon good cause shown, to

reopen the action or       to seek summary judgment enforcing the

compromise if settlement is not consummated within a reasonable

time.    The Court retains jurisdiction for all purposes, including

enforcing the settlement agreement entered into by the parties.
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          COUNSEL   ARE   REMINDED      THAT,     if     witnesses   have   been

subpoenaed, EVERY WITNESS MUST be notified by counsel not to

appear.
                           Hello This is a Test
          New Orleans, Louisiana, this            19th     of    August        ,

2009.




                                           LANCE M. AFRICK
                                     UNITED STATES DISTRICT JUDGE
